        Case 1:22-mj-00270-RMM Document 13 Filed 01/24/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :
             v.                         :     Case No. 22-mj-270
                                        :
BRENNEN MACHACEK                        :
                                        :
                                        :
                       Defendant.       :



                                       ORDER

      Based upon the representations in the Unopposed Motion to Continue and to

Exclude Time Under the Speedy Trial Act, and upon consideration of the entire

record, it is hereby

      ORDERED that the Motion is GRANTED; it is further

      ORDERED that the currently scheduled status hearing on February 7, 2023

be continued for good cause to March 14, 2023 at 1:00 p.m.; and it is further

      ORDERED that the time between February 7, 2023, and March 14, 2023,

shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C. §

3161(h)(7)(A). The Court finds that the ends of justice served by the granting of such

a continuance outweighs the best interests of the public and the defendant in a speedy

trial, as a continuance will provide the parties additional time to review discovery.

                                                                   Zia M. Faruqui
                                                                   2023.01.24
                                                                   12:45:36 -05'00'
                                              THE HONORABLE ZIA M. FARUQUI
                                              United States Magistrate Judge
